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Sheet l

UNiTED STATES DisTRiCT CoURT

District of Montana

 

 

 

 

 

   

UNITED STATES OF AMERICA § JUDGMENT IN A CRIMINAL CASE
v. )
GeOrQe LOWry WeekS § Case Number: CR 18-‘|4-BLG-SPW
) USM Number; 03568-046
)
) l\/|ark Werner (appointed)
) Defendant’s Attomey
THE DEFENDANT:
lZl pleaded guilty to count(s) lndiC'fm€nl
|:l pleaded nolo contendere to count(s)
Which was accepted by the court.
l:l Was found guilty on count(s)
after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
; ‘arjépgzzgi ,,)92432;;§;‘ F`e:on in Pos¢essi§p`iqf/Firear'm;}a.nd Amm`uq;tign~ = 410)7/5201,7/' ' ' f ”"ir;g;i_gr.`

   

 

 

   

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

|:l The defendant has been found not guilty on count(s)

 

[:l Count(s) |:l is [l are dismissed on the motion of the United States.

 

_ . lt is ordered t_hat the defendant_must notify the United States attorney for this district within 30 da s of _any change of name, residence,
or mailing address until_ all fines, restitution,_costs, and special assessments imposed hy this judgment are fu ly paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances

8/2/2018

 

Date o mposition of.ludgment

 

/Signature of Judge

/,M# ,
F\LED

AUB 0 3 mla Susan P. Watters, District Judge

 

Name and 'I`itle ofJud e
\erk U S D`\s\rict Court g

C Dismc` O' Monfana
°\“'“Qs 8/2/2018

 

Date

Case 1:18-cr-OOOl4-SPW Document 29 Filed 08/03/18 Page 2 of 7

AO 245B (Rev. 02/18) Judgment in Criminal Case
Sheet 2 _ lmprisonment

Judgment -- Page ;_ of
DEFENDANT: George Lowry Weeks
CASE NUMBER: CR 18-14-BLG-SPW

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:

30 months, to run concurrent with any sentence received in Montana district court case, Carbon County, DC 17-46.

m The court makes the following recommendations to the Bureau of Prisons:

The defendant be placed at Safford FC| or Eng|ewood FC|. The defendant participate in RDAP.

g The defendant is remanded to the custody of the United States Marshal.

l:l The defendant shall surrender to the United States Marshal for this distn'ct:

|:l at l:l a.m. |:l p.m. on

 

l] as notified by the United States Marshal.

l:l The defendant shall surrender for service of sentence at the institution designated by the Bureau ofPrisons:

l:l before 2 p.m. on

 

l:l as notified by the United States Marshal.

|:l as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment
UNITED STATES MARSHAL
By

 

DEPUTY U'NlTED STATES MARSHAL

Case 1:18-cr-OOOl4-SPW Document 29 Filed 08/03/18 Page 3 of 7
AO 2458 (Rev. 02/18) Judgment in a Criminal Case
Sheet 3 - Supervised Release

Judgment-Page _3__ of ___7
DEFENDANT: George Lowry Weeks
CASE NUMBER: CR 18-14-BLG-SPW
SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of :

3 years

MANDATORY CONDITIONS

1. You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.

3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereai°cer, as determined by the couit.

l:l The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (check ifapplicable)
4_ |:] You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
reSfit\ltiOn. (check if applicable)
|Zl You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
m You must com ly with the requirements of the Sex Offender Registration and Notification Act 34 U.S.C. § 20901, et seq.) as
P

directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, Work, are a student, or were convicted of a qualifying offense. (check ifapplicable)

7, l:| You must participate in an approved program for domestic violence. (check ifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.

Case 1:18-cr-OOOl4-SPW Document 29 Filed 08/03/18 Page 4 of 7
AO 24SB (Rev. 02/18) Judgment in a Criminal Case
Sheet 3A _ Supervised Release

Judgment-Page 4 of 7
DEFENDANT: George Lowry Weeks
CASE NUMBER: CR 18~14-BLG-SPW

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior While on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the

court or the probation officer,

You must answer truthfully the questions asked by your probation officer,

You must live at a place approved by the probation officer, If you plan to change where you live or anything about your living

arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying

the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72

hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your horne or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per Week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

ll. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

§-":‘>

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature Date

 

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Judgment-Page l of ___i

DEFENDANT: George Lowry Weeks
CASE NUMBER: CR 18-14-BLG-SPW

SPECIAL CONDITIONS OF SUPERVISION

1. The defendant shall participate in a program for mental health treatment as deemed necessary by the United States
Probation Officer, until such time as the defendant is released from the program by the probation officer, The defendant is
to pay part or all of the cost of this treatment, as directed by the United States Probation Office.

2. The defendant shall submit their person, residence, place of employment, vehicles, and papers, to a search, with or
without a warrant by any probation ocher based on reasonable suspicion of contraband or evidence in violation of a
condition of release. Failure to submit to search may be grounds for revocation. The defendant shall warn any other
occupants that the premises may be subject to searches pursuant to this condition. The defendant shall allow seizure of
suspected contraband for further examination.

3. The defendant shall participate in and successfully complete a program of substance abuse treatment as approved by
the United States Probation Oft"lce, until the defendant is released from the program by the probation officer, The
defendant is to pay part or all of the cost of this treatment, as directed by the United States Probation Oche.

4. The defendant shall abstain from the consumption of alcohol and shall not enter establishments where alcohol is the
primary item of sa|e.

5. The defendant shall participate in substance abuse testing, to include not more than 365 urinalysis tests, not more than
365 breathalyzer tests, and not more than 36 sweat patch applications annually during the period of supervision. The
defendant shall pay all or part of the costs of testing as directed by the United States Probation Office.

6. The defendant shall not possess, ingest or inha|e any toxic substances such as, but not limited to, synthetic marijuana,
kratom and/or synthetic stimulants such as bath salts and spice, that are not manufactured for human consumption, for the
purpose of altering the defendant's mental or physical state.

7. The defendant shall not purchase, possess, use, distribute or administer marijuana, or obtain or possess a medical
marijuana card or prescription.

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Sheet 5 '_ Criminal Monetary Penalties

 

Judgment _ Page 6 of 7
DEFENDANT: George Lowry Weeks
CASE NUMBER: CR 18-‘|4-BLG-SPW

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment JVTA Assessment* Fine Restitution
TOTALS $ 100.00 $ $ $
l:| The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (A0245C) will be entered

after such determination.
l:l The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately ro ortioned ayment, unless specified otherwise in
the priority order or percentage payment column elow. However, pursuant to 18 .S. . § 3664 i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss** Restitution Ordered Priority or Percentage
ToTALs s O~OO $ O-OO

Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

I:] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
[l the interest requirement is waived for the E fine l:l restitution.

lj the interest requirement for the [:l fine l:l restitution is modified as follows:

* Justice for Victims of Traffickin Act of 201 5, Pub. L. No. 114-22. ' .
** Findings for the total amount o losses _are required under Chapters 109A, l 10, l lOA, and l 13A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.

A024SB R .02/13 ` ‘ ' ' .
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Judgment _ Page 7 of 7
DEFENDANT: George Lowry Weeks
CASE NUMBER: CR 18-14-BLG-SPW

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A m Lump sum payment of $ 100-00 due immediately, balance due
|:] not later than , or

E| in accordance with |:] C, |'_'] D, |:] E, or M Fbelow; or

B l:l Payment to begin immediately (may be combined with l:l C, l:l D, or l:| F below); or

C |:I Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D l:| Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E [:| Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F m Special instructions regarding the payment of criminal monetary penalties:

Criminal monetary penalty payments are due during imprisonment at the rate of not less than $25.00 per quarter,
and payment shall be through the Bureau of Prisons’ |nmate Financial Responsibility Program. Criminal monetary
payments shall be made to the C|erk, United States District Court, James F. Battin U.S. Courthouse, 2601 2nd
Ave North, Ste 1200, Billings, MT 59101.

Unless _the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments ma e through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

l:l Joint and Several

Defendant and 620-Defendant Names_ and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate

l:l The defendant shall pay the cost of prosecution.
|:l The defendant shall pay the following court cost(s):

\:| The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following orders (1) assessment (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment (8) penalties, and (9) costs, including cost of prosecution and court costs.

